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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 REJON TAYLOR, et al.,

                            Plaintiffs,

                    v.
                                                  Civil Case No. 1:25-cv-01161
                                                                 ____________________
 DONALD J. TRUMP, et al., in their official
 capacities,

                            Defendants.


         MOTION FOR ADMISSION PRO HAC VICE OF KRYSTA KILINSKI

       I am an active member in good standing of the bar of this Court and, pursuant to Local

Civil Rule 83.2(c), hereby move for the admission pro hac vice of Krysta Kilinski as counsel for

Plaintiffs Rejon Taylor, Norris Holder, Brandon Basham, Wesley Coonce, Brandon Council,

Chadrick Fulks, Thomas Hager, Charles Hall, Richard Jackson, Jurijus Kadamovas, Daryl

Lawrence, Iouri Mikhel, Ronald Mikos, James Roane, Julius Robinson, David Runyon, Ricardo

Sanchez, Richard Tipton, Jorge Torrez, Daniel Troya, and Alejandro Umaña.

       The declaration of Ms. Kilinski in support of this motion is attached hereto.


 Dated: April 16, 2025                            Respectfully submitted,
        Washington, DC
                                                  /s/ Carmen Iguina González
                                                  Carmen Iguina González, Bar No. 1644730
                                                  HECKER FINK LLP
                                                  1050 K Street NW, Suite 1040
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                                                  Attorney for Plaintiffs
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                              CERTIFICATE OF SERVICE

       I, Carmen Iguina González, certify that I caused a copy of the foregoing Motion for

Admission Pro Hac Vice of Krysta Kilinski to be served upon all counsel via certified mail on

April 16, 2025.


                                                 By: /s/ Carmen Iguina González
                                                    Carmen Iguina González




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